Case 1:19-cv-20157-FAM Document 7 Entered on FLSD Docket 02/01/2019 Page 1 of 6



                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA
                                      MIAMI DIVISION

                                    CASE NO.: 19-cv-20157-FAM

 CHRISTOPHER DEFRANCO,

        Plaintiff,

 vs.

 NORWEGIAN CRUISE LINE HOLDINGS,
 LTD, d/b/a NORWEGIAN CRUISE LINE, a
 foreign corporation, NCL BAHAMAS LTD,
 d/b/a NORWEGIAN CRUISE LINE, a
 foreign corporation, NCL CORPORATION
 LTD, d/b/a NORWEGIAN CRUISE LINE, a
 foreign corporation, NORWEGIAN DAWN
 LIMITED, a foreign corporation, NCL
 AMERICA LLC, a Delaware Limited
 Liability Company,

       Defendants.
 ______________________________/

                DEFENDANT’S ANSWER AND AFFIRMATIVE DEFENSES
                   TO PLAINTIFF’S FIRST AMENDED COMPLAINT

        Defendant NCL (BAHAMAS) LTD (“NCL”), by and through its undersigned counsel

 and pursuant to the applicable Federal Rules of Civil Procedure, hereby serves its Answer and

 Affirmative Defenses to Plaintiff’s First Amended Complaint.

                                         JURISDICTION

        1.      Admitted on information and belief, including information furnished by Plaintiff.

        2.      Admitted that Plaintiff alleges damages in excess of $75,000.00. Denied as to

 Plaintiff’s entitlement thereto.

        3.      Admitted.

        4.      Admitted only that Plaintiff was a passenger on the subject vessel.


                                          Norwegian Cruise Line
Case 1:19-cv-20157-FAM Document 7 Entered on FLSD Docket 02/01/2019 Page 2 of 6
                                                                 Case No.: 19-cv-20157-FAM


        5.     Admitted on information and belief, including information furnished by Plaintiff.

                                 GENERAL ALLEGATIONS

        6.     Denied.

        7.     Denied.

     COUNT I - NEGLIGENCE OF NORWEGIAN CRUISE LINE HOLDINGS, LTD.

        As stated in Plaintiff’s First Motion for Leave to File Second Amended Complaint [DE

 5], this defendant has not been served and Plaintiff intends to dismiss his claim against this

 defendant. To the extent that any allegation in this Count, paragraphs 8-14, including all sub-

 paragraphs, is alleged against NCL, same is denied.

                   COUNT II – NEGLIGENCE OF NCL BAHAMAS LTD

        15.    Admitted for purposes of this litigation only.

        16.    Admitted that NCL operated the subject vessel.

        17.    Admitted for purposes of this litigation only.

        18.    Denied as an incomplete statement of law.

        19.    Denied, including subparagraphs (a) – (i).

        20.    Denied.

        21.    Denied.

                   COUNT III – NEGLIGENCE OF NCL CORPORATION LTD

        As stated in Plaintiff’s First Motion for Leave to File Second Amended Complaint [DE

 5], this defendant has not been served and Plaintiff intends to dismiss his claim against this

 defendant. To the extent that any allegation in this Count, paragraphs 22-28, including all sub-

 paragraphs, is alleged against NCL, same is denied.




                                                  2
                                         Norwegian Cruise Line
Case 1:19-cv-20157-FAM Document 7 Entered on FLSD Docket 02/01/2019 Page 3 of 6
                                                                   Case No.: 19-cv-20157-FAM


                          COUNT IV – NEGLIGENCE OF NCL DAWN LIMITED

        As stated in Plaintiff’s First Motion for Leave to File Second Amended Complaint [DE

 5], this defendant has not been served and Plaintiff intends to dismiss his claim against this

 defendant. To the extent that any allegation in this Count, paragraphs 29-35, including all sub-

 paragraphs, is alleged against NCL, same is denied.

                          COUNT II – NEGLIGENCE OF NCL AMERICA LLC

        As stated in Plaintiff’s First Motion for Leave to File Second Amended Complaint [DE

 5], this defendant has not been served and Plaintiff intends to dismiss his claim against this

 defendant. To the extent that any allegation in this Count, paragraphs 36-42, including all sub-

 paragraphs, is alleged against NCL, same is denied.

                                  AFFIRMATIVE DEFENSES

        1.      Plaintiff’s own negligence was the sole proximate cause of her injuries and

 damages and, accordingly, Plaintiff’s claim is barred as a matter of law.

        2.      Plaintiff’s own negligence contributed to the subject accident and her injuries and

 damages and, accordingly, any award to Plaintiff, if any, must be reduced in proportion to her

 own comparative negligence.

        3.      Plaintiff’s injuries and damages, if any, were caused solely by the conduct of third

 persons not subject to the control, direction or supervision of Defendant and for which Defendant

 cannot be held liable.

        4.      NCL had no actual or constructive notice or knowledge of the alleged

 unreasonably dangerous condition.

        5.      NCL did not create the alleged unreasonably dangerous condition.




                                                   3
                                          Norwegian Cruise Line
Case 1:19-cv-20157-FAM Document 7 Entered on FLSD Docket 02/01/2019 Page 4 of 6
                                                                     Case No.: 19-cv-20157-FAM


         6.     Plaintiff’s claims are barred because there was no unreasonably dangerous or

 hazardous condition that caused his alleged injuries.

         7.     Plaintiff’s claims are barred inasmuch as Plaintiff knew of the existence of any

 alleged danger complained of in the Complaint, realized and appreciated the possibility of injury

 as a result of the danger and, having a reasonable opportunity to avoid it, voluntarily exposed

 himself to the danger.

         8.     The allegedly dangerous condition was apparent, open and obvious and should

 have been observed by Plaintiff in the ordinary course of his senses, barring any recovery by

 Plaintiff.

         9.     The incident and injuries alleged by Plaintiff, if any, were the result of

 superseding, intervening, and/or unforeseeable causes from which NCL had no duty to protect

 Plaintiff.

         10.    NCL fully discharged its duty to Plaintiff by warning him of any dangers and/or

 unique conditions of the vessel.

         11.    This action is governed by and subject to the terms, limitations, and conditions

 contained within the contract for passage, and NCL adopts and incorporates same in its entirety

 to its answer by reference.

         12.    Plaintiff’s claims are governed by general maritime law and any recovery by

 Plaintiff is therefore limited by, and subject to, general maritime law.

         13.    To the extent applicable, any award of damages to Plaintiff must be reduced by

 any collateral source payments.




                                                    4
                                           Norwegian Cruise Line
Case 1:19-cv-20157-FAM Document 7 Entered on FLSD Docket 02/01/2019 Page 5 of 6
                                                                   Case No.: 19-cv-20157-FAM


        14.     The alleged incident and injury may not have been fully disclosed, and therefore

 NCL reserves the right to amend or supplement these Affirmative Defenses with additional

 information if and when such information is discovered.

        WHEREFORE the Defendant, NCL (Bahamas) LTD having fully answered Plaintiff’s

 Complaint and having raised affirmative defenses, demands judgment in its favor, and such other

 relief as this Court deems appropriate.

                                                Respectfully Submitted,

                                                NORWEGIAN CRUISE LINE
                                                Attorneys for Defendant
                                                7665 Corporate Center Drive
                                                Miami, Florida 33126
                                                Telephone:     (305) 436-4377
                                                Facsimile:     (305) 468-2132

                                                By: /s/ Todd L. Sussman
                                                       Todd L. Sussman, Esq.
                                                       Florida Bar No. 0084729
                                                       tsussman@ncl.com

                                  CERTIFICATE OF SERVICE

        I hereby certify that on this 1st day of February 2019, I electronically filed the foregoing

 document with the Clerk of Court using CM/ECF. I also certify that the foregoing document is

 being served this day on all counsel of record identified on the attached Service List in the

 manner specified, either via transmission of Notices of Electronic Filing generated by CM/ECF

 or in some other authorized manner for those counsel or parties who are not authorized to

 electronically receive Notices of Electronic Filing.


                                                By: /s/ Todd L. Sussman
                                                       Todd L. Sussman, Esq.




                                                    5
                                           Norwegian Cruise Line
Case 1:19-cv-20157-FAM Document 7 Entered on FLSD Docket 02/01/2019 Page 6 of 6
                                                                  Case No.: 19-cv-20157-FAM


                                       SERVICE LIST

                    Christopher DeFranco vs. NCL (Bahamas) Ltd., et al
                                Case No.: 19-cv-20157-FAM
                United States District Court for the Southern District of Florida

 Todd L. Sussman, Esq.                                Todd Rosen, Esq.
 NORWEGIAN CRUISE LINE                                TODD ROSEN LAW GROUP
 7665 Corporate Center Drive                          201 Alhambra Circle, Suite 601
 Miami, FL 33126                                      Coral Gables, FL 33134
 Telephone:     (305) 436-4653                        Telephone:     (305) 285-3022
 Facsimile:     (305) 468-2132                        Facsimile:     (305) 675-8090
 tsussman@ncl.com                                     pleadings@toddrosenlaw.com
 ddeluca@ncl.com                                      Attorneys for Plaintiff
 Attorneys for Defendant




                                                6
                                       Norwegian Cruise Line
